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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                     )
                                                                        )
             BYJU’S ALPHA, INC.,1                                       ) Chapter 11
                                                                        )
                                                Debtor.                 ) Case No. 24-10140 (JTD)
                                                                        )
                                                                        )
                                                                          Ref. Docket No. 200
                                                                        )

                  ORDER EXTENDING THE EXCLUSIVE PERIODS FOR THE FILING OF A
                  CHAPTER 11 PLAN AND SOLICITATION OF ACCEPTANCES THEREOF

                            Upon consideration of the motion (the “Motion”)2 of the above-captioned debtor

         and debtor in possession (the “Debtor”) for entry of an order, pursuant to section 1121(d) of the

         Bankruptcy Code, extending the Exclusive Periods for the filing of a chapter 11 plan and

         solicitation of acceptances thereto, all as more fully set forth in the Motion; and due and proper

         notice of the Motion having been given; and it appearing that no other or further notice of the

         Motion is required; and it appearing that this Court has jurisdiction to consider the Motion in

         accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order; and it appearing

         that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this

         proceeding and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing

         that the relief requested in the Motion and provided for herein is in the best interest of the Debtor,

         its estate, and its creditors; and after due deliberation and sufficient cause appearing therefor, IT

         IS HEREBY ORDERED THAT:

                            1.       The Motion is GRANTED as set forth herein.


         1
            The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
         is: BYJU’s Alpha, Inc. (4260). The location of the Debtor’s service address for purposes of this Chapter 11 Case is:
         1007 N. Market Street Ste. G20 452, Wilmington, Delaware 19801.
         2
             Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Motion.

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                        2.     The Plan Period is extended through and including September 30, 2024,

         pursuant to section 1121(d) of the Bankruptcy Code.

                        3.     The Solicitation Period is extended through and including November 27,

         2024, pursuant to section 1121(d) of the Bankruptcy Code.

                        4.     The relief granted herein shall not prejudice the Debtor from seeking further

         extensions pursuant to section 1121(d) of the Bankruptcy Code.

                        5.     This Court shall retain jurisdiction with respect to all matters arising from

         or related to the implementation of this Order.




                Dated: June 18th, 2024                            JOHN T. DORSEY
                Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE



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